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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION


AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.


                 DECLARATION OF WILLIAM SHACKELFORD

I, William Shackelford, declare as follows:

    1.​ I am over the age of 18 and have personal knowledge of the facts in this
        declaration.

    2.​ I am the President of the National Active and Retired Federal Employees
        Association (“NARFE”). NARFE is a nonprofit organization founded in 1921,
        incorporated in the District of Columbia, and headquartered in Alexandria,
        Virginia, with a membership of approximately 128,000 current and former federal
        employees as well as spousal annuitants.

    3.​ NARFE’s mission is to promote the general welfare of current federal civilian
        employees and federal retirees and their survivors, to advise and assist them with
        respect to their federal benefits, to represent their interests before appropriate
        authorities, and to support legislation and regulations beneficial to such
        employees and retirees and to oppose those detrimental to their interests. As part
        of this mission, NARFE assists its members in various ways in applying for and
        securing the payment of federal employment and retirement benefits.

    4.​ Because federal employees and retirees have extensive amounts of personally
        identifiable information housed in their personnel records, payment systems, and
        student loan records, it is part of NARFE’s mission and purpose to call on federal


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    agencies to vigorously protect the privacy of NARFE members’ digital
    information.

5.​ I am aware of and can identify individual NARFE members who have federal
    student loan debt, and/or are federal employees, and/or who have records housed
    within OPM and Department of Education records systems and receive payments
    from the United States Treasury. Specifically, I am aware of individual members
    with personally identifiable information contained in the payment systems of
    Treasury's Federal Disbursement Services; in the federal work files of OPM,
    including USAJOBS and the Electronic Official Personnel Folder, among others;
    and in the Department of Education’s National Student Loan Data Systems,
    Common Origination and Disbursement System, FUTURE ACT System, and
    Financial Management System.

6.​ I am aware that sensitive information about NARFE members is contained in
    these record systems, including Social Security numbers, bank account numbers,
    details of personal finances, and personnel information. Improper disclosure of
    this information increases the risk of access by external actors, doxxing, identity
    theft, invasion of personal privacy, and financial crimes against NARFE
    members. Introducing sensitive personal data into artificial intelligence systems
    enhances these risks.

7.​ I am not aware of any NARFE member who has requested or authorized DOGE
    or its representatives to access their personal data.

8.​ I am aware of and can identify individual members whose right to privacy has
    been violated by such disclosures.

9.​ I am aware of and can identify individual federal employee members who
    received an email from OPM on their federal agency account with the subject
    “Fork in the Road,” detailing a plan for federal employees to immediately resign
    their positions.

10.​ Throughout NARFE, our members have expressed that unauthorized access to
     their personal information by DOGE and its representatives creates a risk of
     identity theft and financial fraud. Many of our members had high-level security
     clearance and were involved in sensitive matters while performing their daily
     duties. As such, they are concerned about political targeting, retribution and legal
     action being initiated against them. Our members are concerned that the
     information in the secure federal databases could be compromised and that their
     annuities and social security benefits would be impacted. Additionally, many of

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          our members are also veterans of the military and are concerned that healthcare
          benefits could be affected by delay or cancellation.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 12, 2025

                                              ____________/s/*___________
​     ​       ​      ​     ​     ​      ​     William Shackelford

*Counsel hereby certifies that he has a signed copy of the foregoing document available
for inspection at any time by the court or a party to this action.




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